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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

ROBERT MCGOWN,                                    Case No: 4:19-cv-02028-YGR

               Plaintiff,
                                                  [PROPOSED] ORDER OF DISMISSAL
v.

CAPITAL ONE BANK (USA), N.A.,

               Defendants.



                             [PROPOSED] ORDER OF DISMISSAL

       Plaintiff, Robert McGown (“Plaintiff”), and Defendant Capital One Bank (USA), N.A.,

(“Defendant”), having filed a Joint Stipulation of Dismissal and the Court being otherwise

sufficiently advised,

       IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant are DISMISSED

with prejudice. Each party shall bear their own costs and attorney’s fees.



       SO ORDERED.



               August 27, 2019
       Dated: _________________                             _________________________
                                                            Yvonne Gonzalez Rogers
                                                            United States District Judge
